
JUSTICE MCKINNON,
specially concurring.
¶63 While I agree that the District Court’s order resolving the parties’ motions for summary judgment should be affirmed, I would do so along the more succinctly stated analysis provided in the District Court’s order. In my opinion, the Court’s analysis is excessively long, far-reaching, and unnecessary. Such an analysis, while not immediately problematic for the case at hand, may potentially be cumbersome for the Court to deal with in the future. Further, for reasons I have previously provided in my dissent in Morrow v. Bank of America, N.A., I disagree with the Court’s analysis regarding constructive fraud. See ¶¶ 72-99 (McKinnon, J., dissenting).
